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                         Exhibit 1
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

RAFAEL A. MOREL THEN, Individually and on
Behalf of All Other Persons Similarly Situated, Civil Action No.: 2:20-cv-00800

                              Plaintiff,                Hon. Christy Criswell Wiegand

                       v.

GREAT ARROW BUILDERS, LLC,

                              Defendant.


        THIRD AMENDED CLASS AND COLLECTIVE ACTION COMPLAINT

       Plaintiff Rafael A. Morel Then (“Plaintiff”), individually and on behalf of all others

similarly situated, by his undersigned attorneys, files this Amended Class and Collective Action

Complaint (the “Complaint”) against Defendant Great Arrow Builders, LLC (“Defendant”),

seeking all available relief under the Fair Labor Standards Act of 1938 (“FLSA”), 29 U.S.C. §§201

et seq. and the Pennsylvania Minimum Wage Act (“PMWA”), 43 P.S. 333.101, et seq. The

following allegations are based on personal knowledge as to Plaintiff’s own conduct and are made

upon information and belief as to the acts of others.

                                       INTRODUCTION

       1.      This lawsuit seeks to recover unpaid wages and overtime compensation for Plaintiff

and other similarly situated co-workers who work or have worked for Defendant Great Arrow

Builders, LLC. The gravamen of Plaintiff’s complaint is that Great Arrow Builders, LLC violated

the law by failing to include a $14 per day Site Allowance in the “regular rate” used to calculate

the overtime compensation owed to employees.
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       2.      Plaintiff alleges, on behalf of himself and other similarly situated current and

former non-exempt hourly employees (collectively “Hourly Employees”) employed by Defendant

who elect to opt into this action pursuant to the Fair Labor Standards Act, 29 U.S.C. § 216(b)

(hereinafter the “Collective” or “Collective Action Members”), that they are entitled to, (i) unpaid

overtime premium wages for hours worked above 40 in a workweek, as required by law, and (ii)

liquidated damages pursuant to the FLSA, 29 U.S.C. §§ 201, et seq. and the Pennsylvania

Minimum Wage Act (“PMWA”), 43 P.S. 333.101, et seq.

       3.      Plaintiff also brings this action, pursuant to Fed. R. Civ. P. 23 to remedy violations

of PMWA, on behalf of himself and all similarly situated current and former Union-represented

Hourly Employees who worked in Pennsylvania and whose applicable labor agreement entitled

them to be paid a $14 Site Allowance for each day worked (hereinafter the “Pennsylvania Class”).

                                 JURISDICTION AND VENUE

       4.      This Court has jurisdiction over Plaintiff’s FLSA claims pursuant to 29 U.S.C.

§216(b) and this Court’s Federal Question Jurisdiction 28 U.S.C. § 1331.

       5.      Venue is proper pursuant to 28 U.S.C. § 1391 because a substantial part of the

events or omissions giving rise to the claims occurred in this District.

       6.      Upon information and belief, Great Arrow Builders, LCC is headquartered in, and

regularly conducts business in, this district.

       7.      This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C. §§

2201 and 2202.

                                          THE PARTIES

       8.      At all relevant times, Plaintiff Rafael A. Morel Then was an hourly employee of

Great Arrow Builders, LLC.



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        9.      At all relevant times, Plaintiff Rafael A. Morel Then was a resident of

Pennsylvania.

        10.     During all relevant times, Plaintiff was employed by Defendant, including periods

from approximately December 2018 through the present.

        11.     Defendant Great Arrow Builders, LLC is a business corporation with its principal

place of business at 1413 9th Avenue, Beaver Falls, Pennsylvania 15010-4106.

        12.     At all times relevant herein, Great Arrow Builders, LLC has been an employer

within the meaning of the FLSA and PMWA.

                                 FACTUAL ALLEGATIONS

        13.     Defendant employed Plaintiff and the Collective and Class Action Members as

Hourly Employees who perform construction work.

        14.     Defendant operated in and around Pennsylvania during the relevant time period.

        15.     Defendant maintains control, oversight, and discretion over the operations of

worksites, including employment practices with respect to Plaintiff and the Collective and Class

Action Members.

        16.     Plaintiff and the Collective and Class Action Members’ work as Hourly Employees

was integrated into and performed in the normal course of Defendant’s business.

        17.     Plaintiff and other Hourly Employees were paid approximately $34 per hour,

though the pay rate may vary by position and seniority.

        18.     During the relevant period, Hourly Employees were governed by common pay

policies.




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       19.     During the relevant period, Great Arrow Builders, LLC paid its Hourly Employees

on an hourly basis in addition to Site Allowance pay. Plaintiff was paid an additional $14 per day

for the Site Allowance pay.

       20.     Other Hourly Employees were similarly paid the Site Allowance pay.

       21.     The Site Allowance pay was not discretionary.

       22.     During the relevant period, Great Arrow Builders, LLC paid time and a half

overtime but did not include the Site Allowance pay in calculating the regular rate and in

calculating the overtime rate.

       23.     During the entire time that Plaintiff was employed by Defendant, Plaintiff was not

paid properly for his time as detailed herein.

       24.     Some or all of the overtime compensation due to Plaintiff and the Hourly

Employees remained unpaid for thirty days beyond the regularly scheduled payday.

       25.     Plaintiff and all members of the Class and Collective Action were paid in the same

manner.

       26.     Defendant is aware of the totality of work that Plaintiff and the Class and Collective

Action Members performed.

       27.     This work did not require managerial responsibilities or the exercise of meaningful

decision-making on matters of significance that impacted the business and no interaction with the

management of the home office.

       28.     Throughout the Class and Collective Action periods, the primary job duties of

Plaintiff and the Class and Collective Action Members did not include hiring, firing, disciplining,

or directing the work of other employees, nor exercising meaningful, independent judgment and

discretion.



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       29.     Defendant’s failure to comply with the FLSA and PMWA has caused Plaintiff and

Collective Members to suffer lost wages and interest therein.

       30.     Defendant is liable under the FLSA and PMWA for, inter alia, failing to properly

pay overtime wages to Plaintiff and similar employees.

                      FLSA COLLECTIVE ACTION ALLEGATIONS
       31.     Plaintiff brings this lawsuit pursuant to 29 U.S.C. § 216(b) as a collective action

on behalf of the Collective Action Members as defined above.

       32.     Plaintiff desires to pursue his FLSA claim on behalf of any individuals who opt

into this action pursuant to 29 U.S.C. § 216(b).

       33.     Plaintiff and the Collective Action Members are “similarly situated” as that term is

used in 29 U.S.C. § 216(b), because, inter alia, all such individuals worked pursuant to

Defendant’s above-described common business policies and practices and, as a result of such

policies and practices, were not paid the full and legally mandated overtime premium for hours

worked over 40 during a workweek.

       34.     Resolution of this action requires inquiry into common facts, including, inter alia,

Defendant’s common compensation, timekeeping, and payroll practices.

       35.     Specifically, Defendant failed to pay Plaintiff and the Collective Action Members

the legally required amount of overtime compensation per workweek after including the Site

Allowance pay in determining the regular rate of pay and overtime rate of pay, in violation of the

FLSA and the regulations promulgated thereunder, including 29 U.S.C. §§ 207(a)(1), 215(a), 29

C.F.R. § 778.104, and 29 C.F.R. § 778.211(c).

       36.     These similarly situated individuals are known to the Defendant, are readily

identifiable, and can be located through Defendant’s payroll record which Defendant was required

to maintain pursuant to the FLSA, see 29 U.S.C. § 211(c); 29 C.F.R. § 215.2 et seq.

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       37.     Conditional certification of this case as a collective matter pursuant to U.S.C. §

216(b) is proper and necessary so that these employees may be readily notified of this action

through direct U.S. mail and/or other means including email, and allowed to opt in for the purpose

of collectively adjudicating their claims for overtime compensation, liquidated damages (or,

alternatively, interest), and attorneys’ fees and costs under the FLSA.

       38.     There are many similarly situated current and former Hourly Employees who have

not been paid proper overtime wages in violation of the FLSA and who would benefit from the

issuance of a court-supervised notice of this lawsuit and the opportunity to join it. Thus, notice

should be sent to the Collective pursuant to 29 U.S.C. § 216(b).

                    PENNSYLVANIA CLASS ACTION ALLEGATIONS

       39.     Plaintiff, on behalf of himself and all Pennsylvania Class Members, realleges and

incorporates by reference the preceding paragraphs.

       40.     Plaintiff and all Members of the Pennsylvania Class assert factually related claims,

pursuant to Fed. R. Civ. P. 23(a), (b)(2), and (b)(3).

       41.     Defendant violated the PMWA because it failed to pay Plaintiff and the

Pennsylvania Class at a rate of 1.5 times their regular hourly rate including the Site Allowance pay

for hours worked in excess of 40 hours per week, pursuant to 43 P.S. 333.101, et seq.

       42.     Although the precise number of the Pennsylvania Class is unknown, Members are

readily identifiable and can be located through Defendant’s records.

       43.     Questions of law and fact common to Plaintiff and the Pennsylvania Class that will

materially advance the litigation include, without limitation:

               a. Whether Defendant employed Plaintiff and the Pennsylvania Class Members

                   within the meaning of the Pennsylvania wage and hour laws;



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               b. Whether Defendant failed to pay Plaintiff and the Pennsylvania Class overtime

                   rates including the Site Allowance pay;

               c. Whether Defendant is liable for all damages claimed by Plaintiff and the

                   Pennsylvania Class, including, without limitation, compensatory, punitive and

                   statutory damages, interest, costs and disbursement, and attorneys’ fees; and,

               d. Whether Defendant should be enjoined from continuing to violate the

                   Pennsylvania wage and hour laws in the future.

        44.    Plaintiff is an adequate class representative, is committed to pursuing this action,

and has retained competent counsel experienced in wage and hour law and class action litigation.

        45.    Class certification of Plaintiff’s Pennsylvania wage and hour law claim is

appropriate pursuant to Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused to act on

grounds generally applicable to the class, making appropriate both declaratory and injunctive relief

with respect to the Class a whole. The Members of the Pennsylvania Class are entitled to injunctive

relief to end Defendant’s common and uniform policy and practice of denying the Pennsylvania

Class the wage to which they are entitled.

        46.    Class certification of Plaintiff’s Pennsylvania wage and hour law claim is also

appropriate pursuant to Fed. R. Civ. P. 23(b)(3) because questions of law and fact common to the

Class predominate over questions affecting only individual Members of the Class, and because a

class action is superior to other available methods for the fair and efficient adjudication of this

litigation.

        47.    Plaintiff knows of no difficulty that would be encountered in the management of

this litigation that would preclude its maintenance as a class action.




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                               FIRST CAUSE OF ACTION
                           FAIR LABOR STANDARDS ACT
        (Brought on Behalf of Plaintiff and All Putative Collective Action Members)

       48.    Plaintiff, on behalf of himself and all the Collective Action Members, realleges and

incorporates by reference the preceding paragraphs.

       49.    At all relevant times, Defendant has been and continues to be, an employer engaged

in interstate commerce, within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a).

       50.    At all relevant times, Defendant employed, and/or continues to employ, Plaintiff

and each of the Collective Action Members within the meaning of the FLSA.

       51.    At all relevant times, Defendant had a policy and practice of willfully failing to

include the Site Allowance pay, in the “regular rate” used to calculate the overtime compensation

owed to its Hourly Employees and all Collective Action Members.

       52.    As a result of Defendant’s willful failure to compensate Plaintiff and the Collective

Action Members for all wages earned and for wages earned at a rate not less than 1.5 times the

regular rate of pay including Site Allowance pay for work performed in excess of 40 hours in a

workweek, Defendant has violated and continues to violate the FLSA, 29 U.S.C. §§ 201 et seq.,

including 29 U.S.C. §§ 207(a)(1), 215(a), and 29 C.F.R. §§ 778.104.

       53.    Defendant’s conduct as alleged herein constitutes a willful violation of the FLSA

within the meaning of 29 U.S.C. § 255(a).

       54.    Due to Defendant’s FLSA violations, Plaintiff and the Collective Action Members

are entitled to recover from Defendant their unpaid wages for the legally required amount of

overtime compensation for all of the hours worked by them in excess of 40 in a workweek, actual

and liquidated damages, including the employer's share of FICA, FUTA, state unemployment




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insurance, and any other required employment taxes, reasonable attorneys’ fees and costs and

disbursements of this action, pursuant to 29 U.S.C. § 216(b).

                            SECOND CAUSE OF ACTION
      PENNSYLVANIA MINIMUM WAGE ACT: UNPAID OVERTIME WAGES
       (Brought on Behalf of Plaintiff and All Members of the Pennsylvania Class)

       55.      Plaintiff, on behalf of himself and all Pennsylvania Class Members, realleges and

incorporates by reference the preceding paragraphs.

       56.      At all relevant times, Plaintiff and Pennsylvania Class Members were employed by

Defendant within the meaning of the PMWA, and Defendant was an employer within the meaning

of PMWA.

       57.      The overtime wage provisions of the PMWA and its supporting regulations apply

to Defendant.

       58.      Defendant willfully violated Plaintiff’s rights and the rights of the Pennsylvania

Class by failing to pay the overtime rate legally required of not less than one and one-half times

their regular rate of regular pay plus Site Allowance pay for all hours worked by them in excess

of 40 in a workweek in violation of the PMWA and its regulations.

       59.      As a result of Defendant’s willful violations of the PMWA, Plaintiff and the

Pennsylvania Class Members are entitled to recover from Defendant their unpaid overtime wages,

reasonable attorneys’ fees and costs of the action, and pre-judgment and post-judgment interest,

including the employer’s share of FICA, FUTA, state unemployment insurance, and any other

required employment taxes, reasonable attorneys’ fees and costs and disbursements of this action,

pursuant to the PMWA.

       60.      Defendant’s PMWA violations have caused Plaintiff and the Class irreparable harm

for which there is no adequate remedy at law.



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                                       DEMAND FOR TRIAL BY JURY

       61.       The Plaintiff hereby demands a trial by jury.

                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiff and the Collective and Class Action Members are entitled to and

pray for the following relief:

       a. Designation of this action as an FLSA collective action on behalf of Plaintiff and the

             Collective Action Class and prompt issuance of notice pursuant to 29 U.S.C. § 216(b)

             to all similarly situated members of the Collective Action Class, apprising them of the

             pendency of this action, permitting them to assert timely FLSA claims in this action by

             filing individual Consents to Sue pursuant to 29 U.S.C. § 216(b), and tolling of the

             statute of limitations;

       b. Certification of the Pennsylvania State Law Class as class actions pursuant to FED. R.

             CIV. P. 23(b)(2) and (b)(3), and the appointment of Plaintiff and his counsel to represent

             the members of the Pennsylvania State Law Class;

       c. A declaratory judgment that the practices complained of herein are unlawful under the

             FLSA and PMWA;

       d. An award of unpaid overtime wages for all hours worked in excess of 40 in a workweek

             at a rate of one and one-half times the regular rate of pay plus the Site Allowance Pay;

       e. An award of liquidated and/or punitive damages as a result of Defendant’s willful

             failure to pay for all hours worked in excess of 40 in a workweek at a rate of one and

             one-half times the regular rate of pay pursuant to 29 U.S.C. § 216 and the PMWA;

       f. An award of damages representing the employer’s share of FICA, FUTA, state

             unemployment insurance, and any other required employment taxes;



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      g. An award of prejudgment and post-judgment interest;

      h. An award of costs and expenses of this action together with reasonable attorneys’ and

          expert fees and an award of a service payment to the Plaintiff; and,

      i. Such other and further relief as this Court deems just and proper.

Dated: December 16, 2021                           Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed via the

Court’s CM/ECF system on this 16th day of December 2021 and is available for download by all

counsel of record.



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